           Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 1 of 7



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

BRENNAN LANDY and CANDY
WORKMAN, individually and on behalf of
all others similarly situated,
        Plaintiff,

      v.                                                Civil Action No. 1:19-cv-12562-IT

SUNPATH LTD., a Massachusetts corporation,
     Defendant.

                     NOTICE OF SCHEDULING CONFERENCE
                                February 4, 2020

      In accordance with Fed. R. Civ. P. 16(b) and Local Rules 16.1 (as modified by this

order), an initial scheduling conference will be held in Courtroom 9 on the 3rd floor of

the John Joseph Moakley United States Courthouse in Boston, Massachusetts, on

March 2, 2020, at 3:00 P.M.

      The court considers attendance of lawyers ultimately responsible for the case to

be of the utmost importance. Counsel for the plaintiff(s) is responsible for ensuring that

all parties and/or their attorneys who have not filed an answer or appearance with the

court are notified of the date of the scheduling conference.

      The court expects compliance with sections (b), (c), and (d) of L.R. 16.11 as

modified below:

1.    Scheduling Order: In most cases, the court will issue a scheduling order at the
      conference in the form attached hereto. The court may depart from the form in
      cases of relative complexity or simplicity or otherwise if justice so requires. The
      parties should attempt to agree on the relevant dates for discovery and motion
          Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 2 of 7



     practice. In a case of ordinary complexity, the parties should propose a schedule
     that calls for the completion of fact discovery, expert discovery, and motion
     practice less than one calendar year from the date of the scheduling conference.
     The dates of the status conference and pretrial conference will be set by the court.

2.   Settlement Proposals: Each defendant shall present to the plaintiff(s) a written
     response to the plaintiff(s)= settlement proposal(s) no later than seven days prior
     to the scheduling conference.

3.   Initial Disclosures: In addition to the information required by L.R. 26.2, initial
     disclosures shall include:

     a.      The name and, if known, the address and telephone number of each
             individual likely to have discoverable information relevant to disputed
             facts alleged with particularity in the pleadings, identifying the subjects of
             the information; and,

     b.      A copy of, or a description by category and location of, all documents,
             data compilations, and tangible things in the possession, custody, or
             control of the party relevant to disputed facts alleged with particularity in
             the pleadings.

4.   Pending Motions: The parties= joint statement shall identify all pending motions.
     Counsel shall be prepared to argue pending motions at the scheduling
     conference.

5.   Reassignment to a Magistrate Judge: The parties’ joint statement shall indicate
     whether all parties consent to reassignment of the case to a magistrate judge for
     all purposes. If all parties consent, the parties should also jointly file a completed
     “Consent/Refusal of Magistrate Judge Jurisdiction” form available at
     http://www.mad.uscourts.gov/resources/forms‐local.htm.




                                           ‐2‐
            Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 3 of 7



6.       Client Signatures: Clients should hand sign the certificate of consultation filed
         pursuant to Local Rule 16.1(d)(3). Counsel may sign with a typed signature so
         long as counsel is registered to use the court’s CM/ECF system.

7.       Proposed Orders: Any proposed orders, such as Proposed Protective Orders,
         shall be docketed separately as an exhibit to a Motion for Proposed Order.



                                                       Indira Talwani
                                                       United States District Judge

                                             By: /s/Gail A. MacDonald Marchione
Date: January 28, 2020                           Courtroom Deputy Clerk


1   These sections of Local Rule 16.1 provide:

(b) Obligation of Counsel to Confer. Unless otherwise ordered by the judge, counsel for
the parties must, pursuant to Fed. R. Civ. P. 26(f), confer at least 21 days before the date
for the scheduling conference for the purpose of:

         (1) preparing an agenda of matters to be discussed at the scheduling conference,

         (2) preparing a proposed pretrial schedule for the case that includes a plan for
            discovery, and

         (3) considering whether they will consent to trial by magistrate judge.

(c) Settlement Proposals. Unless otherwise ordered by the judge, the plaintiff shall
present written settlement proposals to all defendants no later than 14 days before the
date for the scheduling conference. Defense counsel shall have conferred with their
clients on the subject of settlement before the scheduling conference and be prepared to
respond to the proposals at the scheduling conference.

(d) Joint Statement. Unless otherwise ordered by the judge, the parties are required to
file, no later than seven (7) days before the scheduling conference and after
consideration of the topics contemplated by Fed. R. Civ. P. 16(b) & (c) and 26(f), a joint
statement containing a proposed pretrial schedule, which shall include:


                                                 ‐3‐
   Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 4 of 7




(1) a joint discovery plan scheduling the time and length for all discovery events,
that shall

      (a) conform to the obligation to limit discovery set forth in Fed. R. Civ. P.
      26(b), and

      (b) take into account the desirability of conducting phased discovery in
      which the first phase is limited to developing information needed for a
      realistic assessment of the case and, if the case does not terminate, the
      second phase is directed at information needed to prepare for trial; and

(2) a proposed schedule for the filing of motions; and

(3) certifications signed by counsel and by an authorized representative of each
party affirming that each party and that partyʹs counsel have conferred:

      (a) with a view to establishing a budget for the costs of conducting the full
      course—and various alternative courses—of the litigation; and

      (b) to consider the resolution of the litigation through the use of
      alternative dispute resolution programs such as those outlined in LR 16.4.




                                     ‐4‐
          Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 5 of 7




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

_____________________
Plaintiff,

v.                                               Civil Action No. ________________

_____________________
Defendant.

                                    Scheduling Order
TALWANI, D.J.

This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without
undue expense or delay.

Timetable for Discovery and Motion Practice

Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it
is hereby ORDERED that:

1.     Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) and by
this court=s Notice of Scheduling Conference must be completed by __________.

2.     Amendments to Pleadings. Except for good cause shown, no motions seeking
leave to add new parties or to amend the pleadings to assert new claims or defenses
may be filed after __________.

3.     Fact Discovery – Interim Deadlines.

a.    All requests for production of documents and interrogatories must be served by
__________.

b.     All requests for admission must be served by __________.

c.    All depositions, other than expert depositions, must be completed by
__________.
          Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 6 of 7




4.    Fact Discovery – Final Deadline. All discovery, other than expert discovery,
must be completed by __________.

5.    Status Conference. A status conference will be held on __________.



6.    Expert Discovery.

a.    Plaintiff(s)’ trial experts must be designated, and the information contemplated
by Fed. R. Civ. P. 26(a)(2) must be disclosed by, __________.

b.    Plaintiff(s)’ trial experts must be deposed by __________.

c.    Defendant(s)’ trial experts must be designated, and the information
contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by __________.

d.    Defendant(s)’ trial experts must be deposed by __________.

7.    Dispositive Motions.

a.   Dispositive motions, such as motions for summary judgment or partial summary
judgment and motions for judgment on the pleadings, must be filed by __________.

8.      Initial Pretrial Conference. An initial pretrial conference will be held on
__________ at ____ a.m./p.m. The parties shall prepare and submit a pretrial
memorandum in accordance with Local Rule 16.5(d) five business days prior to the date
of the conference.

Procedural Provisions

9.     Extension of Deadlines. Motions to extend or modify deadlines will be granted
only for good cause shown. All motions to extend shall contain a brief statement of the
reasons for the request; a summary of the discovery, if any, that remains to be taken;
and a specific date when the requesting party expects to complete the additional
discovery, join other parties, amend the pleadings, or file a motion.

10.   Motions to Compel or Prevent Discovery. Except for good cause shown, motions
to compel discovery, motions for protective orders, motions to quash, motions to strike
discovery responses, and similar motions must be filed no later than seven days after
          Case 1:19-cv-12562-IT Document 11 Filed 02/04/20 Page 7 of 7



the close of fact discovery or the close of expert discovery, whichever deadline is
relevant. If additional discovery is compelled by the court after the relevant deadline
has passed, the court may enter such additional orders relating to discovery as may be
appropriate.

11.    Status Conferences. The court has scheduled a status conference after (or close to)
the close of fact discovery for case management purposes. Any party who reasonably
believes that a status conference will assist in the management or resolution of the case
may request one from the court upon reasonable notice to opposing counsel.

12.    Additional Conferences. Upon request of counsel, or at the courtʹs own initiative,
additional case‐management or status conferences may be scheduled.

13.    Early Resolution of Issues. The court recognizes that, in some cases, early
resolution of one or more preliminary issues may remove a significant impediment to
settlement or otherwise expedite resolution of the case. Counsel are encouraged to
confer and jointly advise the court of any such issues.

14.   Pretrial Conference. Lead trial counsel are required to attend any pretrial
conference.

15.    Discovery Disputes. In the event the parties encounter a discovery dispute, they
are encouraged to request a hearing or telephone conference with the court before filing
a discovery motion.



                                                      EXAMPLE
                                                United States District Judge

                                                       By: EXAMPLE
Date:                                                  Deputy Clerk
